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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

LINDA BORAN                                          JURY TRIAL DEMANDED

v.                                                   CASE NO. 3:06cv

COLUMBIA CREDIT SERVICES, INC.
MICHAEL SAHLBACH
NATIONAL CREDIT ACCEPTANCE, INC.

                                      COMPLAINT

1.     This is an action pursuant to the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. §1692 et seq. and the Connecticut Unfair Trade Practices

Act ("CUTPA"), Conn. Gen. Stat. §42-110a.

2.     This Court has jurisdiction. 15 U.S.C. §1692k and 28 U.S.C. §1331 and §1367.

3.     Plaintiff is a natural person and a consumer within the FDCPA, who resides in

Connecticut.

4.     Each Defendant regularly uses the instrumentalities of interstate commerce in a

business whose principal purpose is the collection of debts

5.     Defendants purport to have a place of business at 1731 Howe Ave, # 360 or #254,

Sacramento CA 95825.

6.     Each defendant communicated with plaintiff and others in an effort to collect

plaintiff’
         s alleged personal account originated with MBNA, which had been opened by

someone else using some of plaintiff’
                                    s personal identifying information.

7.     Defendants did not provide the notices required by 15 U.S.C. § 1692 g.

8.     When provided with information substantiating that the account was not plaintiff’
                                                                                       s,

Defendants did not cease collection efforts, or properly investigate and verify the account.
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        9.         When provided with information substantiating that the account was not plaintiff’
                                                                                                   s,

        Defendants did not notify Hilco or the party on whose behalf they were attempting to

        collection that the information may be the result of identity theft.

        10.        Defendants’collection tactics included misrepresentations to plaintiff and third

        parties.

        11.        Defendant Sahlbach from time to time used the alias M. Drew and the title Chief

        Legal Officer or Litigation Manager in connection with the collection efforts.

        12. Defendants collection efforts, including the above, violated 15 U.S.C. §1692c, -d, -e, -

f, or –g.

            SECOND COUNT

        13. The allegations of the First Count are repeated and realleged.

        14.        Within three years prior to the date of this action, each Defendant committed

        unfair or deceptive acts or practices in collection efforts within the meaning of the

        Unfair Trade Practices Act, Conn. Gen. Stat. §42-110a et seq., causing ascertainable loss

        to plaintiff.

        WHEREFORE plaintiff respectfully requests this Court to:

              1. Award plaintiff such damages as are permitted by law, both compensatory and

        punitive, including $1,000 statutory damages for each communication, against each

        defendant;

              2. Award the plaintiff costs of suit and a reasonable attorney's fee;

              3. Award declaratory and injunctive relief and such other and further relief as law or

        equity may provide.
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                             THE PLAINTIFF




                             BY____/s/ Joanne S. Faulkner____
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